Case 2:14-cv-08127-WJM-MF Document 158 Filed 02/15/19 Page 1 of 14 PageID: 1608




Maria R. Fruci, Esq.
Member of NJ and NY Bars
mfruci@genovaburns.com
Direct: 973-646-3262
                                              February 15, 2019

   VIA ECF
   Honorable Mark Falk, U.S.M.J.
   Frank R. Lautenberg U.S. P.O. & Courthouse
   1 Federal Square, Box 2797
   Newark, New Jersey 07102

            Re:        Patel v. Pandya, et. al
                       Civil Action No.: 14-8127(WJM)(MF)

   Dear Judge Falk:

            We write to seek the Court’s assistance with a discovery issue that has arisen which the
   parties have not been able to arise. Specifically, Plaintiffs issued a subpoena duces tecum to Dunkin
   Donuts (“Dunkin”) on or about January 14, 2019, which requested documents related to
   Defendant’s litigation involving multiple investors and Dunkin Donuts franchise locations 1 that
   Your Honor may recall. Defendants at no time objected to the Subpoena – and in fact, had
   requested similar records in their own subpoena to Dunkin. As such, Dunkin contacted Plaintiffs’
   counsel advising that documents responsive to the Subpoena would be produced with a
   “Confidential” designation in accordance with the Stipulated Joint Discovery Confidentiality
   Order entered into in this matter (“the Confidentiality Order”)2 and sought confirmation from the
   parties that the terms of same would govern the use of these documents with respect to the instant
   litigation.

           Upon Plaintiffs’ request that Defendants provide confirmation, Defendants advised that
   they will not consent to same. Instead, they have requested that Dunkin produce the documents to
   their counsel’s office so they can determine whether there is any objection. This is not the standard
   under the Rules and should not be permitted. As such, Plaintiffs respectfully submit that the Court
   execute the enclosed proposed Order3 directing Dunkin to produce the documents responsive to
   the Subpoena with a “Confidential” designation in accordance with the Confidentiality Order.

   1
     These documents were previously requested by Plaintiffs in their Requests for Production of
   Documents to Defendants, as well as information related to these records in Plaintiffs’
   Interrogatories to Defendants.
   2
     See Exhibit A attached hereto for a true and correct copy of the August 7, 2015 Confidentiality
   Order.
   3
     See Exhibit B.
Case 2:14-cv-08127-WJM-MF Document 158 Filed 02/15/19 Page 2 of 14 PageID: 1609




 Honorable Mark Falk, U.S.M.J.
 February 15, 2019
 Page 2


         Finally, upon the completion of Defendants’ depositions, Plaintiffs have learned of new
 issues with respect to Defendants’ assets, investments and the flow of funds in which Plaintiffs
 have an interest in the event of a successful outcome in this matter. In light of this information,
 Plaintiffs also note their intention to file a motion to appoint a receiver over Defendants –
 specifically the Rohan Group of Companies – during the pendency of this litigation to ensure that
 further assets of Defendants are not disposed of that would prejudice Plaintiffs, prior to the next
 filing date of February 22, 2019.

         We thank the Court for its continued attention to this matter. Please feel free to contact
 our office should Your Honor have any questions.

                                             Respectfully submitted,

                                             GENOVA BURNS LLC

                                             s/ Maria R. Fruci

                                             MARIA R. FRUCI

 MRF/PJD
 Enclosures
 c:     Rajiv D. Parikh, Esq. (via ECF)
        Steve Varano, Esq. (via ECF)
        Joseph Slawinski, Esq. (via ECF)
        Julia C. Colarusso, Esq. (via electronic mail)




 14594981v1 /22109.001
Case 2:14-cv-08127-WJM-MF Document 158 Filed 02/15/19 Page 3 of 14 PageID: 1610




                   EXHIBIT A
Case
 Case2:14-cv-08127-WJM-MF
       2:14-cv-08127-WJM-MFDocument
                            Document158
                                      37 Filed
                                         Filed02/15/19
                                               08/07/15 Page
                                                        Page41of
                                                               of14
                                                                  8 PageID:
                                                                    PageID:233
                                                                            1611




                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY




   JAGDISH PATEL and KISHAN PATEL,
                                                           Civil Action No.:
                          Plaintiffs,                      2: 14-cv-08127-WJM-MF

   v.

   JIGNESH PANDYA, KRUPA PATEL, JNP
   FOODS, LLC, RONAK FOODS, LLC, ROHAN
   PROPERTIES, LLC, SHREE
   SIDDHIVINA YAK, LLC, HARIDRA, LLC, SRI
   PRATHAMESH, LLC, CT PIZZA, LLC,
   EDISON PIZZA, LLC, JOHN/JANE DOES 1-10,:
   and XYZ COMPANIES 1-10,

                          Defendants.


                 STIPULATED JOINT DISCOVERY CONFIDENTIALITY ORDER

          Plaintiffs, Jagdish Patel and Kishan Patel ("Plaintiffs"), and defendants, Jignesh

   Pandya, Krupa Patel, JNP Foods, LLC, Ronak Foods, LLC, Rohan Properties, LLC, Shree

   Siddhivinayak, LLC, Haridra, LLC, Sri Prathamesh, LLC, CT Pizza, LLC, and Edison Pizza,

   LLC ("Defendants"), hereby stipulate and agree, through their respective attorneys of record

   as follows:

          1.       Any party to this litigation and any third-party shall have the right to designate

   as "Confidential" and subject to this Order any information, document, or thing, or portion of

   any document or thing: (a) that contains trade secrets, competitively sensitive technical,

   marketing, financial, sales or other confidential business information, or (b) that contains

   private or confidential personal information, or (c) that contains information received in

   confidence from third parties, or (d) which the producing party otherwise believes in good
Case
 Case2:14-cv-08127-WJM-MF
       2:14-cv-08127-WJM-MFDocument
                            Document158
                                      37 Filed
                                         Filed02/15/19
                                               08/07/15 Page
                                                        Page52of
                                                               of14
                                                                  8 PageID:
                                                                    PageID:234
                                                                            1612




   faith to be entitled to protection under Rule 26(c)(l)(G) of the Federal Rules of Civil Procedure

   and Local Civil Rule 5. 3. Any party to this litigation or any third party covered by this Order,

   who produces or discloses any Confidential material, including without limitation any

   information, document, thing, interrogatory answer, admission, pleading, or testimony, shall

   mark   the   same    with    the   foregoing   or   similar   legend:   "CONFIDENTIAL"         or

   "CONFIDENTIAL         -     SUBJECT    TO      DISCOVERY       CONFIDENTIALITY         ORDER"

   (hereinafter "Confidential").

          2.     Any party to this litigation and any third-party shall have the right to designate

   as "Attorneys' Eyes Only" and subject to this Order any information, document, or thing, or

   portion of any document or thing that contains highly sensitive business or personal

   information, the disclosure of which is highly likely to cause significant harm to an individual

   or to the business or competitive position of the designating party. Any party to this litigation

   or any third party who is covered by this Order, who produces or discloses any Attorneys'

   Eyes Only material, including without limitation any information, document, thing,

   interrogatory answer, admission, pleading, or testimony, shall mark the same with the

   foregoing or similar legend: "ATTORNEYS' EYES ONLY" or "ATTORNEYS' EYES

   ONLY -       SUBJECT TO DISCOVERY CONFIDENTIALITY ORDER"                             (hereinafter

   "Attorneys' Eyes Only").

          3.     All Confidential material shall be used by the receiving party solely for purposes

   of the prosecution or defense of this action, shall not be used by the receiving party for any

   business, commercial, competitive, personal or other purpose, and shall not be disclosed by the

   receiving party to anyone other than those set forth in Paragraph 4, unless and until the

   restrictions herein are removed either by written agreement of counsel for the parties, or by
Case
 Case2:14-cv-08127-WJM-MF
       2:14-cv-08127-WJM-MFDocument
                            Document158
                                      37 Filed
                                         Filed02/15/19
                                               08/07/15 Page
                                                        Page63of
                                                               of14
                                                                  8 PageID:
                                                                    PageID:235
                                                                            1613




   Order of the Court. It is, however, understood that counsel for a party may give advice and

   opinions to his or her client solely relating to the above-captioned action based on his or her

   evaluation of Confidential material, provided that such advice and opinions shall not reveal the

   content of such Confidential material except by prior written agreement of counsel for the

   parties, or by Order of the Court.

          4.      Confidential material and the contents of Confidential material may be disclosed

   only to the following individuals under the following conditions:

                  a.     Outside counsel (herein defined as any attorney at the parties' outside
                         law firms) and relevant in-house counsel for the parties;

                 b.      Outside experts or consultants retained by outside counsel for purposes
                         of this action, provided they have signed a non-disclosure agreement in
                         the form attached hereto as Exhibit A;

                  c.     Secretarial, paralegal, clerical, duplicating and data processing personnel
                         of the foregoing;

                  d.     The Court and court personnel;

                 e.      Any deponent may be shown or examined on any information, document
                         or thing designated Confidential if it appears that the witness authored or
                         received a copy of it, was involved in the subject matter described
                         therein or is employed by the party who produced the information,
                         document or thing, or if the producing party consents to such disclosure;

                  f.     Vendors retained by or for the parties to assist in preparing for pretrial
                         discovery, trial and/or hearings including, but not limited to, court
                         reporters, litigation support personnel, jury consultants, individuals to
                         prepare demonstrative and audiovisual aids for use in the courtroom or in
                         depositions or mock jury sessions, as well as their staff, stenographic,
                         and clerical employees whose duties and responsibilities require access to
                         such materials; and

                  g.     The parties. In the case of parties that are corporations or other business
                         entities, "party" shall mean executives who are required to participate in
                         decisions with reference to this lawsuit.
Case
 Case2:14-cv-08127-WJM-MF
       2:14-cv-08127-WJM-MFDocument
                            Document158
                                      37 Filed
                                         Filed02/15/19
                                               08/07/15 Page
                                                        Page74of
                                                               of14
                                                                  8 PageID:
                                                                    PageID:236
                                                                            1614




          5.      Confidential material shall be used only by individuals permitted access to it

   under Paragraph 4.      Confidential material, copies thereof, and the information contained

   therein, shall not be disclosed in any manner to any other individual, until and unless (a)

   outside counsel for the party asserting confidentiality waives the claim of confidentiality, or (b)

   the Court orders such disclosure.

          6.      With respect to any depositions that involve a disclosure of Confidential material

   of a party to this action, such party shall have until thirty (30) days after receipt of the

   deposition transcript within which to inform all other parties that portions of the transcript are

   to be designated Confidential, which period may be extended by agreement of the parties. No

   such deposition transcript shall be disclosed to any individual other than the individuals

   described in Paragraph 4(a), (b), (c), (d) and (f) above and the deponent during these thirty

   (30) days, and no individual attending such a deposition shall disclose the contents of the

   deposition to any individual other than those described in Paragraph 4(a), (b), (c), (d) and (f)

   above during said thirty (30) days. Upon being informed that certain portions of a deposition

   are to be designated as Confidential, all parties shall immediately cause each copy of the

   transcript in its custody or control to be appropriately marked and limit disclosure of that

   transcript in accordance with Paragraphs 3 and 4.

          7.      Material produced and marked as Attorneys' Eyes Only may be disclosed only

   to outside counsel for the receiving party and to such other persons as counsel for the

   producing party agrees in advance or as Ordered by the Court.

          8.     If counsel for a party receiving documents or information designated as

   Confidential or Attorneys' Eyes Only hereunder objects to such designation of any or all of

   such items, the following procedure shall apply:
Case
 Case2:14-cv-08127-WJM-MF
       2:14-cv-08127-WJM-MFDocument
                            Document158
                                      37 Filed
                                         Filed02/15/19
                                               08/07/15 Page
                                                        Page85of
                                                               of14
                                                                  8 PageID:
                                                                    PageID:237
                                                                            1615




                  a.     Counsel for the objecting party shall serve on the designating party or
                         third party a written objection to such designation, which shall describe
                         with particularity the documents or information in question and shall
                         state the grounds for objection. Counsel for the designating party or third
                         party shall respond in writing to such objection within 14 days, and shall
                         state with particularity the grounds for asserting that the document or
                         information is Confidential or Attorneys' Eyes Only. If no timely
                         written response is made to the objection, the challenged designation will
                         be deemed to be void. If the designating party or nonparty makes a
                         timely response to such objection asserting the propriety of the
                         designation, counsel shall then confer in good faith in an effort to resolve
                         the dispute.

                  b.     If a dispute as to a Confidential or Attorneys' Eyes Only designation of a
                         document or item of information cannot be resolved by agreement, the
                         proponent of the designation being challenged shall present the dispute to
                         the Court initially by telephone or letter, in accordance with Local Civil
                         Rule 37. l(a)(l), before filing a formal motion for an order regarding the
                         challenged designation. The document or information that is the subject
                         of the filing shall be treated as originally designated pending resolution
                         of the dispute.

          9.     If counsel for either party desires to file with the Court materials that it

   designated as Confidential, counsel shall electronically file the Confidential materials under the

   designation "confidential materials" pursuant to Local Civil Rule 5.3(c)(3) and simultaneously

   file a motion to seal the Confidential materials pursuant to Local Civil Rule 5.3(c). If counsel

   for either party desires to file with the Court materials that were designated as Confidential by

   another party or a nonparty, counsel shall file such materials with the Court under temporary

   seal, along with a request for a "temporary order to seal" under Local Civil Rule 5.3(c)(6).

   Counsel shall also simultaneously provide notice to the designating party or nonparty, that

   Confidential materials have been filed with the Court under temporary seal. Any such notice

   shall describe with particularity the Confidential materials that have been filed with the Court.

   Within fourteen (14) days of the filing of the Confidential materials under temporary seal, the

   designating party or nonparty shall file with the Court a motion to seal the Confidential
Case
 Case2:14-cv-08127-WJM-MF
       2:14-cv-08127-WJM-MFDocument
                            Document158
                                      37 Filed
                                         Filed02/15/19
                                               08/07/15 Page
                                                        Page96of
                                                               of14
                                                                  8 PageID:
                                                                    PageID:238
                                                                            1616




   materials pursuant to Local Civil Rule 5.3(c).       If no timely motion to seal is filed, the

   Confidential designation will be deemed to be void and the materials filed under temporary seal

   will be made available to the public. The filing of a request for a temporary seal shall not

   prejudice or waive the non-designating party's ability to oppose a motion to seal or otherwise

   contest the Confidential designation.

          10.     If the need arises during trial or at any Hearing before the Court for any party to

   disclose Confidential or Attorneys' Eyes Only information, it may do so only after giving

   notice to the producing party and as directed by the Court.

          11.     To the extent consistent with applicable law, the inadvertent or unintentional

   disclosure of Confidential material that should have been designated as such, regardless of

   whether the information, document or thing was so designated at the time of disclosure, shall

   not be deemed a waiver in whole or in part of a party's claim of confidentiality, either as to the

   specific information, document or thing disclosed or as to any other material or information

   concerning the same or related subject matter. Such inadvertent or unintentional disclosure

   may be rectified by notifying in writing counsel for all parties to whom the material was

   disclosed that the material should have been designated Confidential within a reasonable time

   after disclosure. Such notice shall constitute a designation of the information, document or

   thing as Confidential under this Discovery Confidentiality Order.

          12.     When the inadvertent or mistaken disclosure of any information, document or

   thing protected by privilege or work-product immunity is discovered by the producing party

   and brought to the attention of the receiving party, the receiving party's treatment of such

   material shall be in accordance with Federal Rule of Civil Procedure 26(b)(5)(B). Such

   inadvertent or mistaken disclosure of such information, document or thing shall not by itself
Case
  Case
     2:14-cv-08127-WJM-MF
        2:14-cv-08127-WJM-MFDocument
                              Document
                                     158
                                       37 Filed
                                           Filed02/15/19
                                                 08/07/15 Page
                                                           Page10
                                                                7 of 8
                                                                     14PageID:
                                                                        PageID:239
                                                                                1617




    constitute a waiver by the producing party of any claims of privilege or work-product

    immunity. However, nothing herein restricts the right of the receiving party to challenge the

    producing party's claim of privilege if appropriate within a reasonable time after receiving

    notice of the inadvertent or mistaken disclosure.

           13.     No information that is in the public domain or which is already known by the

    receiving party through proper means or which is or becomes available to a party from a

    source other than the party asserting confidentiality, rightfully in possession of such

    information on a non-confidential basis, shall be deemed or considered to be Confidential

    material under this Discovery Confidentiality Order.

           14.     This Discovery Confidentiality Order shall not deprive any party of its right to

    object to discovery by any other party or on any otherwise permitted ground. This Discovery

    Confidentiality Order is being entered without prejudice to the right of any party to move the

    Court for modification or for relief from any of its terms.

           15.     This Discovery Confidentiality Order shall survive the termination of this action

    and shall remain in full force and effect unless modified by an Order of this Court or by the

    written stipulation of the parties filed with the Court.

           16.     Upon final conclusion of this litigation, each party or other individual subject to

    the terms hereof shall be under an obligation to assemble and to return to the originating source

    all originals and unmarked copies of documents and things containing Confidential material

    and to destroy, should such source so request, all copies of Confidential material that contain

    and/or constitute attorney work product as well as excerpts, summaries and digests revealing

    Confidential material; provided, however, that counsel may retain complete copies of all

    transcripts and pleadings including any exhibits attached thereto for archival purposes, subject
Case
  Case
     2:14-cv-08127-WJM-MF
        2:14-cv-08127-WJM-MFDocument
                              Document
                                     158
                                       37 Filed
                                           Filed02/15/19
                                                 08/07/15 Page
                                                           Page11
                                                                8 of 8
                                                                     14PageID:
                                                                        PageID:240
                                                                                1618




    to the provisions of this Discovery Confidentiality Order. To the extent a party requests the

    return of Confidential material from the Court after the final conclusion of the litigation,

    including the exhaustion of all appeals therefrom and all related proceedings, the party shall

    file a motion seeking such relief.

    IT IS SO ORDERED.

    Dated:     'fl/7/ 1~
             --1-7------
                                                       HON. MARK FALK, U.S.M.J.


    AGREED TO BY COUNSEL OF RECORD:



                                         GENOVA BURNS LLC
                                         Attorneys for Plaintiffs,
                                         Jagdish Patel and Kishan Patel


    Dated: August 6, 2015                By: sf Rajiv D. Parikh
                                             RAJIV D. PARIKH, ESQ.


                                         BARATTA, RUSSELL & BARATTA
                                         Attorneys for Defendants,
                                         Jignesh Pandya, Krupa Patel, JNP Foods, LLC, Ronak
                                         Foods, LLC, Rohan Properties, LLC, Shree
                                         Siddhivinayak, LLC, Haridra, LLC, Sri Prathamesh,
                                         LLC, CT Pizza, LLC, Edison Pizza, LLC



    Dated: August 6, 2015                By: s/ Kenneth C. Russell
                                             KENNETH C. RUSSELL, ESQ.
Case 2:14-cv-08127-WJM-MF Document 158 Filed 02/15/19 Page 12 of 14 PageID: 1619




                   EXHIBIT B
Case 2:14-cv-08127-WJM-MF Document 158 Filed 02/15/19 Page 13 of 14 PageID: 1620



  GENOVA BURNS LLC
  Rajiv D. Parikh, Esq.
  Maria R. Fruci, Esq.
  494 Broad Street
  Newark, New Jersey 07102
  Telephone:     (973) 533-0777
  Facsimile:     (973) 533-1112
  rparikh@genovaburns.com
  mfruci@genovaburns.com
  Attorneys for Plaintiffs
  Jagdish Patel and Kishan Patel

                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY


   JAGDISH PATEL and KISHAN PATEL,                     Civil Action No.: 14-cv-8127(WJM)(MF)

                          Plaintiffs,

   v.

   JIGNESH PANDYA, KRUPA PATEL, JNP                          ORDER COMPELLING
   FOODS, LLC, RONAK FOODS, LLC,                        DUNKIN DONUTS’ PRODUCTION OF
   ROHAN PROPERTIES, LLC, SHREE                            DOCUMENTS PURSUANT TO
   SIDDHIVINAYAK, LLC, HARIDRA, LLC,                       CONFIDENTIALITY ORDER
   SRI PRATHAMESH, LLC, CT PIZZA,
   LLC, EDISON PIZZA, LLC, JOHN/JANE
   DOES 1-10, and XYZ COMPANIES 1-10,

                          Defendants.


         This matter having been opened to the Court by Genova Burns, LLC attorneys for plaintiffs,

  Jagdish Patel and Kishan Patel (“Plaintiffs”) regarding outstanding discovery and the production of

  documents from third-party Dunkin Donuts in response to a Subpoena duces tecum served on it by

  Plaintiffs; and the Court having considered all papers submitted in connection with this issue; it is

  hereby ORDERED that:




                                                   1
Case 2:14-cv-08127-WJM-MF Document 158 Filed 02/15/19 Page 14 of 14 PageID: 1621



           1.        Dunkin Donuts shall produce all documents responsive to Plaintiffs’ January 14,

  2019 Subpoena served upon it, with a “Confidential” designation in accordance with August 7,

  2015 Stipulated Joint Discovery Confidentiality Order in this matter.



                                                                ____________________________
                                                                MARK FALK
                                                                United States Magistrate Judge




  14598566v1 /22109.001

                                                    2
